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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION
                          CIVIL ACTION NO. 5:17-cv-176-DCR
                                  Filed Electronically

In re: 355 Main Street, Frenchburg, KY 40322

UNITED STATES OF AMERICA                                          PLAINTIFF

VS.

HENRY AGEE, ET AL                                                 DEFENDANTS

                                  MOTION TO LIFT STAY
                                       *********

       Comes now the Plaintiff, United States of America, by and through counsel, and hereby

respectfully requests that the Stay in the above-styled case, which was entered March 2, 2018 in

[DE No. 14] be lifted, as the pending bankruptcy proceeding has now been discharged. See Order

of Discharge entered in [DE No. 16.]

                                                   Respectfully submitted,

                                                   /s/ A. George Mason, Jr.
                                                   A. George Mason, Jr.
                                                   KBA No. 44596
                                                   Attorney for the Plaintiff
                                                   3070 Lakecrest Circle
                                                   Suite 400, PMB 278
                                                   Lexington, KY 40513




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                                  CERTIFICATE OF SERVICE
       This will certify that I electronically filed the foregoing into the Court’s record of this
action by using the Court’s CM/ECF Electronic Filing System, and that any order or judgment
United States of America proposes in connection therewith is an attachment to the filing.

       This will further certify that a true and correct copy of the foregoing, together with a copy
of any order or judgment United States of America proposes in connection herewith, has been
served as follows:

-Via U.S. Postal Service, postage prepaid

Henry Agee
355 Main Street
Frenchburg, KY 40322

Jennifer Agee
355 Main Street
Frenchburg, KY 40322

                                                     By: /s/ A. George Mason, Jr.
                                                     Attorney for the Plaintiff
                                                     George Mason Law Firm, PSC




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